
347 S.E.2d 47 (1986)
STATE of North Carolina
v.
A'Dolphus Marcel MARTIN.
No. 209P86.
Supreme Court of North Carolina.
August 12, 1986.
*48 A'Dolphus Marcel Martin, pro se.
Newton G. Pritchett, Jr., Asst. Atty. Gen., Raleigh, for the State.

ORDER
Upon consideration of the petition filed by Defendant in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 12th day of August 1986."
